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 1                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
 2                                       SAN JOSE DIVISION
 3
     APPLE INC., a California corporation,
 4
                    Plaintiff,
 5          vs.                                         Civil Action No. 11-CV-01846-LHK
 6   SAMSUNG ELECTRONICS CO., LTD., a
     Korean business entity, SAMSUNG
 7   ELECTRONICS AMERICA, INC., a New
     York corporation, and SAMSUNG                      [PROPOSED] ORDER GRANTING
 8   TELECOMMUNICATIONS AMERICA,                        APPLE INC.’S ADMINISTRATIVE
     LLC, a Delaware limited liability company,         MOTION TO FILE DOCUMENTS
 9
                                                        UNDER SEAL
10                  Defendants.

11   SAMSUNG ELECTRONICS CO., LTD., a
     Korean business entity, SAMSUNG
12   ELECTRONICS AMERICA, INC., a New
     York corporation, and SAMSUNG
13
     TELECOMMUNICATIONS AMERICA,
14   LLC, a Delaware limited liability company,

15                  Counterclaim-Plaintiffs,
            v.
16
17   APPLE INC., a California corporation,

18                  Counterclaim-Defendant.
19
20          In accordance with Civil L.R. 7-11 and 79-5, and General Order No. 62, Apple Inc.

21   (“Apple”) has filed an administrative motion for an order to seal portions of the following

22   documents:
23
             1.     Confidential portions of Apple’s Notice of Motion and Motion for Partial
24
            Summary Judgment, filed herewith.
25
             2.     Exhibits 24 and 46 – 48 to the Declaration of Joseph J. Mueller in Support of
26
            Apple’s Motion for Partial Summary Judgment, filed herewith.
27
28           3.     Confidential portions of the Declaration of Saku Hieta, filed herewith.

                                                                                                            OPPOS
                                                                                     [PROPOSED] ORDER        FOR
                                                  1                            Case No. 11-cv-01846 (LHK)
         Case 5:11-cv-01846-LHK Document 660-2 Filed 01/25/12 Page 2 of 2




 1
              4.   Exhibits 1 – 4 to the Declaration of Saku Hieta, filed herewith
 2
 3   Having considered the arguments and the papers submitted, and GOOD CAUSE
 4
     HAVING BEEN SHOWN, the Court hereby GRANTS Apple’s Administrative Motion to File
 5
     Under Seal. The above-referenced documents shall be filed under seal.
 6
 7
     IT IS SO ORDERED.
 8
     Dated:
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10
11                                               By: _____________________
                                                 Honorable Paul S. Grewal
12                                               United States Magistrate Judge
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                                                                                                           OPPOS
                                                                                    [PROPOSED] ORDER        FOR
                                                 2                            Case No. 11-cv-01846 (LHK)
